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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11
12 UNITED STATES OF AMERICA                 Case No. CR 20-190-RGK
13              Plaintiff,
                                            UNOPPOSED EX PARTE
14        v.                                APPLICATION TO CONTINUE
                                            THE DATE BY WHICH
15 EDGAR SARGSYAN                           DEFENDANT EDGAR SARGSYAN
                                            MUST SELF-SURRENDER TO
16              Defendant.                  BEGIN SERVICE OF HIS
                                            SENTENCE; DECLARATION OF
17                                          ROBERT E. DUGDALE
18                                          [[Proposed] Order Filed Concurrently
                                            Under Separate Cover]
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        UNOPPOSED EX PARTE APPLICATION FOR AN ORDER TO CONTINUE THE DATE BY WHICH
       DEFENDANT EDGAR SARGSYAN MUST SELF-SURRENDER TO BEGIN SERVING HIS SENTENCE
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 1        Defendant Edgar Sargsyan, by and through his counsel of record, hereby
 2 applies to the Court for an order to permit Mr. Sargsyan to continue the date by
 3 which he must self-surrender to serve his sentence from December 18, 2023 to on or
 4 before 12:00 p.m. on January 2, 2024. This ex parte application is based upon the
 5 accompanying declaration of counsel, the files and records in this case, and such
 6 further evidence and argument as the Court may permit. The government has no
 7 objection to this request.
 8 DATED: December 14, 2023             Respectfully submitted,
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                                        KENDALL BRILL & KELLY LLP
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12                                      By:         /s/ Robert E. Dugdale
13                                            Robert E. Dugdale
                                              Attorneys for Edgar Sargsyan
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        UNOPPOSED EX PARTE APPLICATION FOR AN ORDER TO CONTINUE THE DATE BY WHICH
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 1                    DECLARATION OF ROBERT E. DUGDALE
 2         I, Robert E. Dugdale, hereby state and declare as follows:
 3         1.    I am an attorney and counsel of record for Defendant Edgar Sargsyan
 4 in the above-captioned action.
 5         2.    On December 4, 2023, this Court sentenced Mr. Sargsyan to a six
 6 month term of imprisonment to be followed by a six month period of home
 7 detention. At the conclusion of Mr. Sargsyan’s sentencing hearing, this Court
 8 ordered that Mr. Sargsyan would be allowed to self-surrender and ordered for him to
 9 do so by surrendering to the institution designated by the Bureau of Prisons
10 (“BOP”), or, in the absence of such a designation, to the United States Marshal’s
11 Service in Los Angeles, no later than 12:00 p.m. on December 18, 2023. Through
12 this application, Mr. Sargsyan seeks an order from this Court allowing him to report
13 directly to the federal facility where he will be designated to serve his six month
14 sentence and to do so by 12:00 p.m. on January 2, 2024. Mr. Sargsyan is making
15 this request (1) to ensure he reports to serve his sentence at a facility where he can
16 be protected given his notoriety as a prolific government cooperator; and (2) to save
17 the government from the expense and logistical challenges of transporting him to the
18 facility where he will serve his six month sentence.
19         3.    Within hours after Mr. Sargsyan was sentenced on December 4, 2023, I
20 contacted a representative of the BOP to advise the BOP of the need to separate Mr.
21 Sargsyan from individuals and groups of individuals who might wish to do him
22 harm while he is in custody due to cooperation Mr. Sargsyan provided to the
23 government.
24         4.    On December 6, 2023, in a further effort to ensure Mr. Sargsyan’s
25 safety when he reports to serve his sentence, I advised government counsel in this
26 case of those individuals and groups of individuals who Mr. Sargsyan should be
27 separated from while in custody to ensure Mr. Sargsyan’s safety. After doing so, I
28 received assurances from government counsel that they would provide the
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 1 appropriate notifications to the United States Marshal’s Service that would ensure
 2 Mr. Sargsyan is separated from individuals and groups of individuals I identified
 3 who might wish to do harm to Mr. Sargsyan when he serves his sentence.
 4        5.     On December 12, 2023, I contacted Shaton McDaniel, an Investigative
 5 Analyst at the United States Marshal’s Service in Los Angeles who facilitates the
 6 designation of defendants to the BOP facilities where they serve their sentences. I
 7 engaged in this outreach to determine whether the BOP had succeeded in identifying
 8 a facility where Mr. Sargsyan could be safely incarcerated to serve his six month
 9 sentence. Ms. McDaniel informed me that she had received the necessary
10 information from the government to address who Mr. Sargsyan needs to be
11 separated from while in custody for his protection. However, Ms. McDaniel
12 informed me that Mr. Sargsyan had not yet been designated a BOP facility where he
13 will serve his sentence because information needed to determine his inmate
14 classification had not yet been provided by the United States Probation Office. Ms.
15 McDaniel informed me that she would expedite Mr. Sargsyan’s designation but that
16 the BOP would not be able to identify the facility where Mr. Sargsyan will serve his
17 sentence by December 18, 2023, the date Mr. Sargsyan is currently set to self-
18 surrender to begin service of his sentence.
19        6.     The consequence of the fact that the BOP will not be in a position to
20 designate where Mr. Sargsyan will serve his six month sentence by December 18,
21 2023, is that Mr. Sargsyan will be housed for several weeks at the Metropolitan
22 Detention Center if required to self-surrender on that date, where he will either be
23 kept in isolation in administrative segregation or be put in a position where his
24 safety may be compromised due to his well-publicized status as a government
25 cooperator, and then will be sent to the BOP facility where he will serve the balance
26 of his testimony by plane or bus at the government’s expense.
27        7.     Alternative, if this Court provides a brief period of time to allow the
28 BOP to complete the process of designating Mr. Sargsyan to a BOP facility where
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 1 he can be safely incarcerated, Mr. Sargsyan can report directly to that facility on or
 2 before the date requested in this application.
 3        8.     Mr. Sargsyan has been on bond in this case since June 2020. Over the
 4 past three and one-half years, he has consistently obeyed the orders and directions of
 5 his Pretrial Services Officer, the government, and this Court. Once ordered to report
 6 to the facility identified by the BOP as the facility where he will serve his sentence,
 7 Mr. Sargsyan will do so; and this is the first and last request that will be made to
 8 continue the date by which he must self-surrender to serve his sentence.
 9        9.     On December 13, 2023, I informed Assistant United States Attorneys
10 Michael Morse and Juan Rodriguez of the instant Application and the basis for it.
11 That same day, Assistant United States Attorney Morse confirmed that the
12 government has no objection to allowing Mr. Sargsyan to self-surrender on or
13 before January 2, 2024.
14        I declare under penalty of perjury under the laws of the United States of
15 America that the foregoing is true and correct to the best of my knowledge.
16        Executed on December 14, 2023, in Los Angeles, California.
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18                                                 /s/ Robert E. Dugdale
19                                             Robert E. Dugdale

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